Case 5:21-cr-00009-LGW-BWC             Document 1243         Filed 03/25/25       Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                  WAYCROSS DIVISION


   UNITED STATES OF AMERICA                       *
                                                  *
   Vs.                                            * CASE NO. 5:21-CR-009-11
                                                  *
   LUIS ALBERTO MARTINEZ                          *
   A/K/A, “CHINO MARTINEZ                         *


                                    WITHDRAWAL OF PETITION

          COMES NOW, EDWIN E. JOHNSON and TERRY MYERS, Petitioners, in the above
   stated case and files this their Withdrawal of their Petition to Assert a legal interest in the
   property located at 102 Ashley Lane, McRae-Helena, Georgia 31055



          This the 25th day of March, 2025.

                                                            Respectfully submitted,

                                                          /s/  Jerome Adams
                                                          Attorney at Law
                                                          Georgia State Bar Number: 002575
                                                          P.O. Box 1005
                                                          Douglas, GA 31534
                                                          912-384-7109
                                                          jadamslaw1@jeormeadamslaw.com




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                                                *
   Vs.                                          * CASE NO. 5:21-CR-009-11
                                                *
   LUIS ALBERTO MARTINEZ                        *
   A/K/A, “CHINO MARTINEZ                       *



                                   CERTIFICATE OF SERVICE

          I, Jerome Adams, hereby certify that on March 25, 2025, I electronically filed the
   foregoing Withdrawal on behalf of Petitioners, Edwin E. Johnson and Terry Myers in the above
   stated case with the Clerk of the Court using the CM/ECF system which will send notification of
   such filing to the following:

                          Xavier Aloysius Cunningham
                          United States Attorney’s Office
                          22 Barnard Street, Suite 300
                          Savannah, GA 31401



          This the 25th day of March, 2025.

                                                       Respectfully submitted,

                                                       /s/   Jerome Adams
                                                       Georgia State Bar Number: 002575
                                                       Attorney at Law
                                                       P. O. Box 1005
                                                       Douglas, GA 31534-1005
                                                       Telephone: 912-384-7109
                                                       Fax: 912-384-7951
                                                       E-mail: jadamslaw@windstream.net

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